UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAKE CHARLES DIVISION

PARISH OF CAMERON ET AL CASE NO. 2:18-CV-00677

VERSUS JUDGE SUMMERHAYS

AUSTER OIL & GAS INC ET AL MAGISTRATE JUDGE KAY
ORDER

Presently before the court is the Motion to Remand [doc. 67] filed by Parish of Cameron
and the Joint Motion to Remand [doc. 71] filed by the Louisiana Attorney General and the
Louisiana Department of Natural Resources, Office of Coastal Management. Based on the Reasons
for Decision entered this day,

IT IS ORDERED THAT both the Motion to Remand [doc. 67] and the Joint Motion to
Remand [doc. 71] are GRANTED.

THUS DONE in Chambers on this 26th day of September, 2019.

 

Robert R. Summerhay
United States District Judge
